883 F.2d 69Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Linwood MCLAUGHLIN, Plaintiff-Appellant,v.Buford M. PARSONS, Nancy Bryan, Assistant CommonwealthAttorney of Henrico County, Defendants-Appellees.
    No. 89-7015.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 7, 1989.Decided Aug. 14, 1989.
    
      Linwood McLaughlin, appellant pro se.
      Before DONALD RUSSELL, WIDENER, and PHILLIPS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Linwood McLaughlin appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  McLaughlin v. Parsons, C/A No. 88-747-N (E.D.Va. Jan. 5, 1989).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    